 

Case 1:08-cv-03473 Document14-2 Filed 08/14/2008 Page 1 of5 nfo-§

mm curran srarrss march occur son rare 406
Noarsrean merch or ILLINors route »Z 30 tcm
QLQRM’ ' I‘i g 06
y IN homes PAUPERJS asPLicAf'Mm-§htsa
AND C`OU¢W-
‘ FINANC'IAL AFFIDAVIT
lduams£¢ia_i_m__
messrs

'V.
mcentee C'ou of- s’lF flock enemy n l 3
E + AL ' CASE NIJMBER C;l,§"- c‘- 35/?

 

Defenesm(s) moss misses /%eee

 

Wherever f__/’is z`i~tc}z,zrz’e.:fJ please place on X into whichever box applies Wherever the answer to any question requires
more information then the space that is providedJ attach one or more pages that refer to each such question number ' ‘
cna‘proviala the additional information _Plecse PRINT:

I, _wr*/ id FH first 115 ' , declare that I arn the leaintiff Qpetitioner l:|moyant

( other l in the above-entitled ease This affidavit constitutes my application Htc proceed
without full prepayment offees, cr l:l in support of my motion for appointment of counsel, or l:l both. I also
declare that I am unable to pay the costs cf these proceedings and that l arn entitled to the relief sought in

the complaint/petitioncoon/appeal. ln support of this petiticnfapplication/rnotion/appeal, I answer the

following questions under penalty of perjury

l. A_re you currently incarcerated? ;H`Yes BNo (l_f “N ," go to Questio 2)
I_D. # B@,QQ,T? Name ofprison orjail: maj g.~£'§[gd'& ¢:amf£;)f ` \€.’£¢`_HL
Do you receive any payment from the institution? l:lYes MNo onthly amount: _

 

2 Are you currently employed? |:lYes Ell\lo
Monthly salary or wages:
Name and address of employer

 

 

 

 

a. If bhe answer is “i\'c".
bare of last employment
Monthly salary or wages;
Name and address of last employer

 

 

 

 

b. Are you married? L__lYes MNO
Spouse’s monthly salary or wages:
Narne and address ofemployer;

 

 

 

3. Apart from your income stated above in response to Question 2, in the past twelve months have youl
or anyone else living at the sarne address received more than $200 from any of the following
sources? Morkch in either '“Yes"or "No", cndthen checkoff boxes that opplyin each category

a. Salary or wages ` |:|Yes we
A.mount Reeeiyecl by

 

 

Case 1:08-cv-03473 Document 14-2 Filed 08/14/2008 Page 2 of 5

 

 

 

b. l:| Business, |3 profession or l;l other self-employment l:lYes §d\lo
Arnount_i__ _`_` ___ “_ Received by

e. E Rent payments [J interest or |:| dividends ` |:lYes §No
Afiiount Received by

d_ l:l Pensions, l:l social security, Cl annuities, |:| life insurance, |:l disability, |:| woi'kers’

compeiisation, |:l uiiernp]oyment, |;l welfare, |:| alimony or maintenance or l:l child support

I:|Yes Wo

 

 

 

 

Ainount Received by

e. l:| Gifts or l;l inheritances |:lYes |NNo
Anicunt ’ Received by _
f. l;lAny other sources (state sources ) |___lYes l;§ll\lo
Amount Received by

 

 

.Do you or anyone else living at the same address have more than $200 in cash or checking or
savings accouiits'?' [___]Yes o Tota] arnount:_
ln whose name held:d Relationship to you:

 

Do you or anyone else living at the same address own any stocks, borids, securities or other

 

 

financial instrumental I:|Yes MNo
Prcpei'ty: Current Value:
l.n whose name held; Relationship to you:

 

Do you or anyone else living at the same address own any real estate (houses, apartmentsJ

 

condominiums, cooperativesJ two~flats, three-flats, etc.)? |:lYes mNo
Address ct`property:
Type of prcperty; Currentvalue'.

 

 

ln whose name held: Relationship to you;” `
Arnount cf monthly mortgage or loan payments:
Name of person making payments:

 

 

 

Do you or anyone else living at the same address own any automobiles, boats, trailers, mobile

homes or other items of personal property with a current market value of more than '$1000?
l:lYes NNo

Prcpei‘ty.‘ `

Current value:

I;nwliose name held.l Relationship to you:

 

 

 

List the persons who are dependent on you for supp_ort, state your relationship to each person and
indicate how much you contribute monthly to their support Ifnone, check here RlNo dependents

 

 

 

 

Case 1:08-cv-03473 Document 14-2 Filed 08/14/2008 Page 3 of 5

l declare under penalty of perjury that tlie above information is true and correct lunderstand that pursuant
to 28 U.S_C. § lt?l.‘i(e)(i)(A)J the court shall dismiss this case at any time if the court determines that my
allegation of poverty is untrue_

aaa 7- as'r aims figgie £M~

Signat\.ire of Applicant

dij/Ydanr nil/aris

(Print Nat'r'ic]

NOTICE TO PRISONERS: A risoner must also attach a statement certified b the a ro riate
institutional officer or officers showing all receipts expenditures and balances durine the last six months
in the prisoner’ s prison or iail trust fund accounts. Because the law requires information as to such accounts
covering s full six months before you have filed your lawsuit, you must attach a sheet covering transactions
in your own account-prepared by e_ip_cl_i institution where you have been in custody during that six-month
period--aiid you must also have the Certificate below completed by an authorized officer at each institution

 

CERTIFICATE
(Incarcerated applicants only)
(To be completed by the institution of incarceration)

 

 

l certify that the applicant named herein, __Williarri Evaria , l.D.# BOBE?? r , has the sum
of$_*_155 - 25 *_ on account to his/her credit at (nanie ofinstitutioii) Pinckl'liayville Ccrrectiorial.

l further certify that the applicant has the following securities to his/her credit: N g g t l further

certify that during the past six months the applicant’s average monthly deposit was EHHLM__.
(Add all deposits from all sources and then divide by number of months}_. T_rmiate has been housed
at Stateville for writs for most of the last 6 monthe. He has not received any

 

 

funds hara at Pineknayvilla for the last 6 nt except Ju`ly, 2008 Payrcll Of $1-79
a/s/iia .. -
_ nara stott nia;;s cda`a‘brnoaiaancericsa

crisis l:>- FL¢“MWc-S
(Pt'jt'it name)

rea '»‘!] BIUE

 

Case 1:08-cv-03473

Document 14-2

Filed 08/14/2008 Page 4 of 5

 

 

naia: srs/acca Pincknayvll|e Correctional Center Paoe1
Tlme: 12:44pm Trust Fund
d_lisi_inmaia_traris_statement_composits View Trangagiic,ns
lnmaia: BC|BE?? Evaria, William Houslng Unlt: PNK-R£l-C -36
Date Source Transaetlon Type Batoh Ha|‘aranoa# Deser|ptlon Amount Elalance
Etaglnnlng Ea|anea: 3.10
01113/33 Disbursements 33 Transfer|nma.te 013341 C‘»hii #51373 Biatevllle CG. lnv.Dale:01l13/2333 33.63 33.73
02!13,‘03 D|sbursements 34 Library 353341 Chk #52155 224373, DOC: 523 Furid L|brary. -.30 33.43
lnv. Date: 12/12.'2007
32."1 3103 Disbursements 34 L|brary 053341 Chk #52155 223453. DDC: 523 Fund Lllirary, -1.30 37.43
lnv. Dals: 03/25!2007
32/13!33 Disbursemants 34 Lilirary 050341 th #52155 223324. DOG: 523 Fund Library, *3.00 34.43
lnv. Data: 1W22/2007
02/19.103 Disbursemerits 34 lerary 050341 Chk #52155 223333. DDG: 523 Funcl Library, -5.43 73.03
lnv. Date: 12/06/2007
02/13!03 D|atiursarnems 34 Library 353341 Chk #52155 224133, DOC: 523 Fund Library. 313 73`33
lnv. Daie: 12/31!2007
02/131'03 Distiursaments 34 Lilirary 350341 Chii #52155 224201, DOC: 523 Fund l_itirary, -3.00 34.33
lnv. Date: 12/31/2307
02113!03 Dlsbursamants 34 Litirary 050341 th #52155 223705, DOC: 523 Fund Library, -4.75 30.24
lnv. Date: 10/23/2007
02/13/33 D|sbursemenis 34 Library 353341 Chk #52155 223352, DCJC: 533 Furicl l..|brary. -4.23 53.04
lnv. Da!a: 11/15/2007
DEHBIOB Dlstiursen'ients 31 Laga| Poslaga 353341 Chk #52172 223533, lBF Postage, lnv. Daio: -2.11 53,93
10!05)‘2007
02.'13103 D|s|:iursen'ients 31 Lagal Posiage 050341 Chk #52172 223434, lBF Postage, lnv. Daia: -.30 53.13
03!23/300?
32/1 9/03 Disbursernents 31 Legal Postage 050341 Chli #52172 223503.13FPostaga, lnv. Date: -1.33 51_75
1D."D1i'2007
32/13/33 Disbursamanis 31 Lega| Postage 053341 Chk #52172 224023. lBF F'oslage. lnv. Daie: -2,45 43.30
12113!2337
02/13!03 Diatiursemems 31 Lega| Postage 050341 Chk #52172 22417'3. lBF F'ostago, lnv. Dale: -7.53 41_74
12/23/2007
32/13/03 Dlstiursemerits 31 Lega| Postage 050341 Chk #52172 223433. lBF Posiaga, lnv. Date: -.37 43.77
DB!EE!EUU?
02."13,'03 Distiursements 31 l.ega| Posiaga 353341 Chk #52172 223?23. lBF F'oslage. llnv. Data: -.41 43.33
10/33/2337 _
02/13!03 Disbursements 31 Lega|Postaga 050341 th #52172 223573. lBF Postaga. lnv. Dale: -.37 33.33
10/12/2007
32113/03 Dlstiursements 31 Legal Postage 353341 Chk #52172 223313, lBF F"ostai;ie, lnv. Date: -.37 33.42
11!27!2007
32113!03 Disbursamarils 31 Lagal Posiage 353341 Chk #52172 224133, lBF F‘ostnge, lnv. Date: -1.14 37.23
12/21.'2007
02113/03 D|sbursements 31 Legal Postage 053341 Chlt #52172 223313, |EF Postage. lnv. Dale: -_37 33.31
11/27/2007
32/13/03 Dlsbursements 31 Lega| Postage 050341 Ohk #52172 223233, |EF Poataga. lnv. Date: -2.13 34.13
- 03/23!2007
02/13/03 Dlsbursemants 31 Laga| Postaga 050341 C-hli #52172 224034, lBF Pcstage. lnv. Date: -3.17 31.01
12/13/2007
02/13/03 Disbursemanls 31 Lega!F'ostaga 350341 Chk#52172 223322.|BF Pcstage. lnv.Dals: -3.24 22.?'7
1322/2007
32113!03 Disbursamants 31 Legal F'ostage 053341 Chk #52172 223323. IBF Postags, lnv. Date: -.41 22.33
11/29!2007
02/13/33 Diabi.irsamems 31 Lega|Postagc 353341 Ehk #521'?2 223443,|BF F'ostage, lnv.Date: -1.31 21.05
03/25/2007
02/13/03 Disbursements 31 Legal F*ostage 350341 C»hk #52172 223723. lBF F*ostage. lnv. Daia: -.53 23_4?
13/30/2007
02113/33 Disl:iursarnonts 31 Legal F'ostage 053341 Chk #52172 223333, lBF Postaga, lnv. Date: -4.35 1552
13t23f2307
02/13/03 Dlabursemenls 31 Laga| Fostage 050341 Gh|t #521?2 223541.|ElF Postaga. lnv.Date: -1.34 13.53
10/10!2007
02/13/03 D|sbursernenls 31 Legal Postage 050341 C|'il< #52172 224133, |EF Posiage. lnv. Daia: -.41 13.17
12120!2337
32/13/03 Di'sliursemonts 31 Lega| F'ostage 350341 th #_52172 223329. |EF Posiage. lnv. Date: -3.73 3.33
11/23!2037
32/13/03 Disbursements 31 L.aga| Postage 050341 Chli #52172 223532. lBF Postage. lnv. Date; -.30 2.53

1W15f2007

 

Case 1:08-cv-03473

Document 14-2

Filed 08/14/2008 Page 5 Of 5

 

 

 

 

 

DH*P-= 3/5/2008 Pinckneyville Gorrectiona| Center Paaa 2
Time: 12:44pm Tl»ust Fund
d_|ist_inmate_trans_siaiemant_ccmposile View Tran$actions
|rimate: 3036?? Evaris, W|||Iam Hous|ng Unlt: PNK-FM-C -35
Data Souree Transact|on Type Botch Hafaranea # Daa¢l'lptlon Amourii Ealanoa
02/13/03 Distiursaments 30 Med|ea| Go-F'ay 050341 Chk #52175 224152. DCJG: 523 Fund |nmate Fl. -2.00 .53
lnv. DatEl: 1320/2007
32113/33 Diabureements 31 Lagal Postage 050341 Chk #52175 223333, DOG: 523 Fundlriiriata Fl, -,53 .00
lnv. Date: 12/03!2007
05/03!03 Mai'| Floom 04 |ntalte and Transters |ri 155233 140329 3tatevil|e C.C. -103.34 »103.54
33/13/03 Payro|| 20 Payroll Adjustment 13517'5 Pth month 0105/2003 .00 d1121£-3.34
07111/03 Payrcll 20 F'ayrc|l Ad]uaimani 1331?5 P/Ft month of 03/2003 “Wi?ti‘£f&ii -104.34
Total lnmaia Funds: -104.34
Laes Funda Ha|d For Ordars: .oo
Lasa Funda Heatrletad: 33.32
Fund$ Avallah|a: -133.23
Total Fur|oughs: .00
Tota| Vo|untary Ftestliut|ona: ,00

 

